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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF CALIFORNIA

                                                                                                     Chapter 13 Plan (Recommended Form)

In Re: ROBERT FRANCIS MOOSBRUGGER                                                         Case Number:
       ESTHER ANNA MOOSBRUGGER
                                                                                                       x         Original Plan
                                                                                                                 Amended Plan

CREDITORS: YOU SHOULD READ THIS PLAN CAREFULLY AND DISCUSS IT WITH YOUR ATTORNEY. CONFIRMATION OF THIS PLAN
BY THE BANKRUPTCY COURT MAY MODIFY YOUR RIGHTS IN SEVERALWAYS INCLUDING PROVIDING FOR PAYMENT OF LESS
THAN
THE FULL AMOUNT OF YOUR CLAIM, SETTING THE VALUE OF THE COLLATERAL SECURING YOUR CLAIM, AND SETTING THE
INTEREST RATE ON YOUR CLAIM.

1.         Plan Payments.      There shall be paid to the Chapter 13 Trustee the amount of $ 2,065.00                        each month by
debtor(s), or any entity from whom debtor(s) receive income, in such installments as agreed upon with the Trustee, for payment of all existing
debts of debtor(s) pursuant to this Plan, except as the Court may otherwise order. Payments from debtor(s) shall begin within 30 days of filing
the petition or conversion order. Debtor(s) submit all future income to the supervision and control of the Trustee during this case and agree to
pay sufficient funds to the Trustee on or before five years from commencement of this case to fully complete this Plan.

2          Pre-Confirmation Adequate Protection Payments. “Adequate Protection Payments are to be made in compliance with the Court’’s
General Order and Local Rules. Trustee is under no obligation to adjust filed and allowed claims unless there is a court order or specific written
direction from the claimant.

3.       Administrative Claims.        Trustee will pay allowed administrative claims and expenses in full pursuant to §1326(b) as set forth
below unless the holder of such claim has agreed to a different treatment of its claim:

           (A).       Trustee Fees: The Chapter 13 Trustee shall receive a fee, the percentage of which is set by the United States Trustee.
           in accordance with applicable law

           (B)        Debtor’s Attorney Fees: Debtor’s attorney shall be paid after creditors listed in paragraph 7, except as checked below:

                             XXX      Attorney fees to be paid in full prior to other claims. (Do not check this option if lease
payments/adequate protection payments are necessary.)

                                           Attorney fees to be paid at the rate of         $                            per month prior to other claims. (If no
amount is filled in, attorney will be paid after creditors listed in paragraph 7).

          (C)       Except as ordered by the court, other §1326(b) claims will be paid in installments as set by the trustee in advance of other
claims. All other claims entitled to priority and post petition claims allowed by law shall be paid in full by deferred payments in such priority
and installments as theTrustee in his discretion deems appropriate, unless this plan specifically provides otherwise.

4.      Specified Leases, Personal Property (Trustee to pay). Debtor(s) elect to assume the existing lease of personal property with the
below named creditors:

           (A) REGULAR LEASE PAYMENTS: After paymetns provided in prior paragraphs, Trustee shall make distribution to named lease creditors in the
installment specified from funds available for distribution monthly until claim is paid in the amount allowed. Any option to purchase or any payments a carry-over
provision shall be paid by debtor(s) directly.

           Name of Creditor                                  Current Through                        Regular Monthly Installment



           (B) ARREARS LEASE PAYMENTS: After the regular monthly lease payment above, Trustee shall pay any lease arrears to name lease creditors in the
installment specified from funds available monthly until claim is paid in the amount allowed.

           Name of Creditor                                        Regular Monthly                   Estimated                         Arrears
                                                                   Payment Installment               Arrears                           Installment




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5.         Specified Secured Claims, Personal Property.               After payments provided for by prior paragraphs, Trustee shall make payment to creditors (their
agents and assigns) named in this paragraph whose claims are allowed secured claims solely by personal property. Each named creditor shall be paid in
installments from funds available for distribution monthly, non-cumulative, as indicated until claim is paid in amount allowed secured plus intereest at seven
percent (7%) per annum unless a different percentage I specified below. The balance of the claim shall be treated as unsecured. Upon confirmation, creditor will
be deemed to accept the classification, valuation and interest rate set forth and payment pursuant to this provision will be binding, even if creditor is not subject to
§506 valuation, unless creditor timely objects and the court orders otherwise.

           Name of Creditor                              Allowed Secured Value                          Installment                       (Optional %) Interest




6.         Specified Secured Claims, personal property ( §506 valuation not applicable) purchase money security interest in vehicles purchased for
personal use within 910 days of filing the petition or other secured debt within one year of filing the petition). Creditors named in this paragraph shall be paid
in the same priority as creditors listed in paragraph 5 above but in full for allowed claims secured solely by personal property for which §506 valuation is not
applicable. Each named creditor shall be paid in installments from funds available for distribution monthly, non-cumulative, as indicated until claim is paid in
amount allowed plus interest at seven percent (7%) per annum unless a different percentage is specified below. Upon confirmation, the interest rate set forth will be
binding unless a creditor timely objects and the court orders otherwise.


           Name of Creditor                              Estimated Claim                                Installment                       (Optional %) Interest




7.          Domestic Support Obligations.                 Aftter payments provided for in prior paragraphs, allowed claims for a domestic support obligation as
defined by §507(a)(1), shall be paid, as to amounts due and payable at the commencement of the case, in full 100% to those creditors named below in installments
from funds available for distribution monthly, non-cumulative, as indicated until claim is paid in amount allowed without interest unless an optional interest
percentage is specified below. Holder of claims for domestiv support obligations, other than creditors specifically named will be paid as indicated in paragraph 3 of
this plan. Post-petition support shall be paid by the debtor directly to support creditors as such payments become due and payable.

           Name of Creditor                              Estimated Arrears                              Installment                       (Optional %) Interest




Assigned Domestic Support Obligations not to be paid in full. If debtor’s projected income for a period of five years will be applied to make payments under
the plan, debtor may provide for less than full payment to assigned Domestic Support Obligations (DSOs) defined in §507(a)(1)(B). Although the unpaid DSOs
remain nondischargeable, after creditors provided for in prior paragraphs, debtor proposes to pay the below named assigned DSO credotors on their filed and
allowed claims in installments from funds available for distribution monthly, non-cumulative, as indicated until the equivalent of 60 months of projected disposable
income has been paid into the plan for distribution to creditors. If there are any remaining funds after paymetn to other creditors pursuant to the plan, those funds
mayb e paid to any creditor in this paragraph whose claim is not paid in full.

           Name of Creditor                              Estimated Claim                                Installment




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8.          Secured Co-debtor claims.            After payments provided for by prior paragraphs, creditors (their agents and assigns) named in this paragraph who
have allowed claims secured by personal property with a co-debtor liable thereon, shall be paid by the Trustee 100% of the claim as allowed plus interest at the
contract rate (if clearly provided in the claim) in installments as indicated. Installments are to be paif from funds available for distribution monthly non-cumulative.
If no contract rate of interest is clearly specified in the claim, pay the interest rate specified below or if not specified, pay twelve percent (12%) A.P.R. interest.

           Name of Creditor                              Installment                                   (Optional %) Interest




9.          Real Estate or Mobile Homes (Trustee to pay arrears only).            Notwithstanding any other provisions of this plan, during this case and following
completion of this case, debtors shall make the usual and regular payments (including any balloon payments) called for by any security agreements supporting non-
vaidable liens against debtor’s real estate of mobile home, directly to lien holders in a current manner. However, arrears to name lien holders (their agents and
assigns) shall be paid in installments by Trustee from funds available for distribution monthly, non-cumulative, and except for creditors paid pursuant to prior
paragraphs of this plan, shall be paid in advance of periodic distribution to other creditors. Each named creditor shall be paid in installments indicated until arears
claim is paid in amount allowed plus interest at seven percent (7%) per annum, unless a different percentage is specified below.

Provisions of this paragraph shall operate to cure any default of any real estate or mobile home security agreement notwithstanding that by the terms thereof, of by
the law or processes of a governmental unit, the time for redemption or reinstatement has expired. If there exist creditors not dealt with by this plan holding
statutory or other liens against debtor’s real estat of mobile home and the obligation is fully due, for reasons other than the exercise of power of acceleration for
failure to make installment payments, unless the court orders otherwise, debtor (s) will pay said claim directly to said creditor in full on or before six months time
following the date of confirmation of this plan. Unless otherwise specifically provided for elsewhere in the plan, secured tax claims shall be paid as though secured
only by personal property even if also secured by real property.


           Name of Creditor                              Estimated Arrears                             Installment                        (Optional %) Interest

  ONE WEST BANK                                             $99,500.00                                    $1,780.00                             -0-
(ACCT. NO. 1006127920)




10.         Real Estate or Mobile Home (Trustee to pay entitre claim).           Notwithstanding any other provisions of this plan, the below named creditors (their
agents and assigns) who have security agreements supporting non-voidable liens against debtor’s real estate or mobile home or or are cress-collateralized shall be
paid in installments by Trustee from funds available for distribution monthly, non-cumulative, and except for creditors paid pursuant to prior paragraphs of this plan
shall be paid on their allowed claims in advance of periodic distribution to other creditors. Each named creditor shall be paid in installments as indicated until the
allowed secured claim is paid 100% plus interest at seven percent (7%) per annum, unless a different percentage is specified below.


           Name of Creditor                              Estimated Claim                               Installment                        (Optional %) Interest




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11.         Other secured personal property creditors and lease creditors. After payments provided for in prior paragraphs. Trustee shall pay holders of other
claims allowed secured solely by personal property. Any creditor holding a lease on personal property in debtor’s possession with a filed and allowed claim, unless
specifically dealt with elsewhere in this plan, shall be treated as a secured creditor herein. All claims pursuant to this paragraph shall be paid pro-rata with other
such creditors to the amount allowed plus interest at seven percent (7%) per annum unless a differerent percentage is specified below and in advance of distribution
to general unsecured creditors:


                                                                        Optional % interest:



12.         Unsecured co-debtor claims.                      After payments provided for by prior paragraphs, creditors (their agents and assigns) named in this
paragraph who have allowed unsecured claims with a co-debtor liable thereon, shall be paid by the Trustee 100% of the claim as allowed plus interest at the
contract rate (if clearly specified in the claim) in installments as indicated. Installments are to be paid from funds available for distribution monthly non-
cumulative. If no contract rate of interest is clearly specified in the claim, pay the interest rate specified belowe of if none specified, pay twelve percent (12%)
A.P.R. interest.


           Name of Creditor                               Installment                                    (Optional %) Interest




13.        NON-PRIORTY UNSECURED CLAIMS.                          After dividends to all other creditors pursuant to the plan, Trustee may pay dividends pro-rata to
claims allowed unsecured. Unsecured non-priority creditors will receive:

  100 % or a pro-rata share of $                              whichever is greater. (The dollar amount is the greater of (1) the non-exempt assets or (2) the
applicable commitment period of 36 or 60 months multiplied by debtor’s projected disposable income). If both the percentage and dollar amount are left blank,
trustee is to pay 100% to unsecured creditors. If the percentage is filled in at less than 100% and the dollar amount is left blank, trustee is authorized to increase the
percentage if necessary to comply with the required applicable commitment calculation. Trustee is authorized to increase the percentage to comply with the
Applicable Commitment Period, even if there is a pro rata amount specified

14.          Special Unsecured Claims.      Notwithstanding any other provision of the plan, creditors named in this paragraph shall be paid as an unsecured claim
but in full 100% of the claim amount allowed [Debtors represent compliance with Section 1322(b)(1)].


           Name of Creditor                                             Optional interest rate




15.         Exclusion of creditor.            Notwithstanding any other provision of the plan, debtor(s) elect to assume the existing lease or contract with creditors
in this paragraph, these named creditors shall not be dealt with or provided fo by this plan. All pre-petiition and post-petition payments due to listed creditors,
including default, shall be disallowed as claims for payment herein, unless agreed upon by the Trustee with notice and an opportunity to object by Debtor.


           Name of Creditor                                             Collateral




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16.         Rejection of Claim, Return of Collateral. Debtor(s) elect not to assume the lease or contract with creditors (their agents and assigns) named in this
paragraph and shall surrender to such creditor the collateral subject to creditor’s lien or lease in full satisfaction of any secured claim arising from the transaction
creating creditor’s interest in said property.

           Name of Creditor                                           Collateral




17.        Post-Petition Claims.               Claims allowed for post-petition debts incurred by debtor(s) may be paid in full 100% of the claim in such order and
on such terms as the Trustee, in his sole discretion, may determine. Trustee or any adversely affected party in interest may file to dismiss case if debtor(s) fail to
make sufficient payments to keep such obligations current.



18.        General Provisions.               Post-petition earnings while this case is pending shall remain property of the estate and shall not vest in the debtor
notwithstanding §1327. Any remaining funds held by the Trustee after dismissal or conversion of a confirmed case may be distributed to creditors pursuant to
these plan provisions. Pursuant to §1322(b)(3), Trustee shall have the power to waive, in writing and on such conditions as the Trustee may impose, any default in
debtor’s payment to Trustee under this Plan. Any tax refunds or other funds sent to the debtor(s) in care of the Trustee during this case may be deposited to
debtor’s account and disbursed to creditors pursuant to the plan.


19.    Valuation of Collateral. Although the following valuation estimated by debtor(s) will be used by the trustee in most cases to determine the
amount of creditor’s secured claim, it is not intended that creditors are bound by the values set forth. If a creditor objects to these values, creditor
may contact debtor’s attorney and/or appear at the 341(a) Meeting of Creditors and may object to confirmation, or set a separate valuation hearing.

              Creditor                                                    Collateral                                          Estimated Value




Special Note: this plan is intended as an exact copy of the Chapter 13 (recommended form) plan revised 9/05, except as to any added paragraphs after paragraph
18 above. The Trustee shall be held harmless from any changes in this plan from the recommended plan dated 9/05.




Plan Dated:              12/8/15                                      Debtor: /S/            ROBERT FRANCIS MOOSBRUGGER

                                                          Joint Debtor: /S/                ESTHER ANNA MOOSBRUGGER
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